Case 0:17-cv-62320-UU Document 35 Entered on FLSD Docket 01/25/2018 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA


 ISEMONA MELIDOR,

        Plaintiff,

 v.                                                 CASE NO.: 0:17-cv-62320-UU

 OCWEN LOAN SERVICING, LLC,

        -and-

 DEUTSCHE BANK NATIONAL TRUST
 COMPANY, AS TRUSTEE FOR HSI
 ASSET SECURITIZATION
 CORPORATION TRUST 2006-NC1
 MORTGAGE PASS-THROUGH
 CERTIFICATES, SERIES 2006-NC1

       Defendants.
 ______________________________/

                   DEFENDANTS’ UNOPPOSED MOTION TO RESET
                INITIAL PLANNING AND SCHEDULING CONFERENCE

        Defendants, OCWEN LOAN SERVICING, LLC and DEUTSCHE BANK

 NATIONAL TRUST COMPANY, AS TRUSTEE FOR HSI ASSET SECURITIZATION

 CORPORATION TRUST 2006-NC1 MORTGAGE PASS-THROUGH CERTIFICATES,

 SERIES 2006-NC1, hereby move to reset the initial planning and scheduling conference reset

 for Friday, February 9, 2018 at 11:00 am. As grounds for this motion, Defendants state:

        1.      On January 22, 2018, this Court entered an order re-setting the Initial Planning

 and Scheduling Conference (“Conference”) for February 9, 2018 at 11:00 AM. [D.E. 33].

 Undersigned counsel has a pre-paid vacation cruise leaving from Miami on Saturday, February

 3, 2018 and returning Saturday, February 10, 2018. As a result, undersigned counsel will not be
Case 0:17-cv-62320-UU Document 35 Entered on FLSD Docket 01/25/2018 Page 2 of 4
                                                                        CASE NO.: 0:17-cv-62320-UU


 in the country on February 9, 2018, the date of the reset Conference. Undersigned counsel is

 available February 13, 2018 through February 16, 2018, should the Court be available to reset

 the Conference for the following week.

        2.      This motion is not being interposed for purposes of delay. No party shall be

 prejudiced by rescheduling the Conference.

        3.      Undersigned counsel has conferred with counsel for Plaintiff, who has no

 objection to re-setting the Conference, as herein requested.

        WHEREFORE, for all the foregoing reasons, Defendants respectfully request that the

 Initial Planning and Scheduling Conference be reset.

                                                      Respectfully submitted,

                                                      GREENBERG TRAURIG, P.A.
                                                      Attorneys for Ocwen Loan Servicing, LLC
                                                      and Deutsche Bank National Trust
                                                      Company, as Trustee for HSI Asset
                                                      Securitization Corporation Trust 2006-NC1
                                                      Mortgage Pass-Through Certificates, Series
                                                      2006-NC1


                                                             s/Lacey D. Hofmeyer
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                                                                -and-




                                                  2
Case 0:17-cv-62320-UU Document 35 Entered on FLSD Docket 01/25/2018 Page 3 of 4
                                                               CASE NO.: 0:17-cv-62320-UU


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                               CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on this 25th day of January, 2018, I electronically filed the

 foregoing notice with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on counsel of record identified on the below Service List

 either via transmission of Notices of Electronic Filing generated by CM/ECF, or in some other

 authorized manner for those counsel or parties who are not authorized to receive Notices of

 Electronic Filing.




                                                          /s/ LACEY HOFMEYER
                                                          Lacey Hofmeyer




                                              3
Case 0:17-cv-62320-UU Document 35 Entered on FLSD Docket 01/25/2018 Page 4 of 4
                                                              CASE NO.: 0:17-cv-62320-UU


                                     SERVICE LIST

                   Isemona Melidor v. Ocwen Loan Servicing, LLC et al.
                                Case No. 0:17-cv-62320-UU
                  U.S. District Court for the Southern District of Florida


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                                                        /s/ LACEY HOFMEYER
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                                             4
